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                    EXHIBIT A
DocuSign Envelope ID: 3BEA1094-8F5E-4DB3-8B75-4E1E65B079CB
                      Case 2:19-cv-00105-RWS Document 1-1 Filed 05/24/19 Page 2 of 5




                      Notice of Consent to Become a Party-Plaintiff to a
                     Lawsuit Brought Under the Fair Labor Standards Act


                        Jeanne Weinstein
             1.      I, _________________________, consent and agree to pursue a claim under the Fair
                     Labor Standards Act against my employer(s) for claims of unpaid wages during
                     my employment.

             2.      I understand that this lawsuit is brought under the Fair Labor Standards Act. I
                     hereby consent, agree, and opt-in to become a party-plaintiff and be bound by any
                     judgment of the Court or any settlement of this action.

             3.      I designate the law firm and attorneys at Herrmann Law, PLLC and other
                     attorneys with whom they may associate to prosecute my wage claims.

             4.      In the event the case is certified and then decertified, I authorize Herrmann Law,
                     PLLC to use this consent form to re-file my claims in a separate or related action
                     against my employer(s).


                                                                       5/6/2019

                      Signature                                         Date

                     Jeanne Weinstein

                      Printed Name
DocuSign Envelope ID: 06A9675D-6B8F-4B69-8B69-85D5142F3C69
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                      Notice of Consent to Become a Party-Plaintiff to a
                     Lawsuit Brought Under the Fair Labor Standards Act


                        Jason Bowen
              1.     I, _________________________, consent and agree to pursue a claim under the Fair
                     Labor Standards Act against my employer(s) for claims of unpaid wages during
                     my employment.

              2.     I understand that this lawsuit is brought under the Fair Labor Standards Act. I
                     hereby consent, agree, and opt-in to become a party-plaintiff and be bound by any
                     judgment of the Court or any settlement of this action.

              3.     I designate the law firm and attorneys at Herrmann Law, PLLC and other
                     attorneys with whom they may associate to prosecute my wage claims.

              4.     In the event the case is certified and then decertified, I authorize Herrmann Law,
                     PLLC to use this consent form to re-file my claims in a separate or related action
                     against my employer(s).


                                                                       5/8/2019

                      Signature                                         Date

                      Jason Bowen

                      Printed Name
DocuSign Envelope ID: C085AA05-720E-4A30-A2AB-5C5971DA6B77
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                      Notice of Consent to Become a Party-Plaintiff to a
                     Lawsuit Brought Under the Fair Labor Standards Act


                        Arica Lehan
             1.      I, _________________________, consent and agree to pursue a claim under the Fair
                     Labor Standards Act against my employer(s) for claims of unpaid wages during
                     my employment.

             2.      I understand that this lawsuit is brought under the Fair Labor Standards Act. I
                     hereby consent, agree, and opt-in to become a party-plaintiff and be bound by any
                     judgment of the Court or any settlement of this action.

             3.      I designate the law firm and attorneys at Herrmann Law, PLLC and other
                     attorneys with whom they may associate to prosecute my wage claims.

             4.      In the event the case is certified and then decertified, I authorize Herrmann Law,
                     PLLC to use this consent form to re-file my claims in a separate or related action
                     against my employer(s).


                                                                       5/8/2019

                      Signature                                         Date

                     Arica Lehan

                      Printed Name
DocuSign Envelope ID: C26BA02A-83AA-4406-83F8-0EEEE74FD989
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                      Notice of Consent to Become a Party-Plaintiff to a
                     Lawsuit Brought Under the Fair Labor Standards Act


                        Tyler Watson
             1.      I, _________________________, consent and agree to pursue a claim under the Fair
                     Labor Standards Act against my employer(s) for claims of unpaid wages during
                     my employment.

             2.      I understand that this lawsuit is brought under the Fair Labor Standards Act. I
                     hereby consent, agree, and opt-in to become a party-plaintiff and be bound by any
                     judgment of the Court or any settlement of this action.

             3.      I designate the law firm and attorneys at Herrmann Law, PLLC and other
                     attorneys with whom they may associate to prosecute my wage claims.

             4.      In the event the case is certified and then decertified, I authorize Herrmann Law,
                     PLLC to use this consent form to re-file my claims in a separate or related action
                     against my employer(s).


                                                                       5/8/2019

                      Signature                                         Date

                     Tyler Watson

                      Printed Name
